                                                       Case 2:21-cv-00915-RFB-VCF Document 17 Filed 09/27/21 Page 1 of 3


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                                                   3
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                                                       Attorneys for Plaintiff
                                                   6

                                                   7

                                                   8                                   UNITED STATES DISTRICT COURT
                                                   9                                          DISTRICT OF NEVADA
                                                  10

                                                  11       DANIEL LUCERO,                                     Case No. 2:21-cv-00915-RFB-VCF
                                                  12
                                                                          Plaintiff,
                                                  13                                                          STIPULATION AND ORDER TO
BLACK & WADHAMS

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                                                           v.                                                 EXTEND TIME FOR OPPOSITION ON
                   Las Vegas, Nevada 89135




                                                  14                                                          DEFENDANT’S MOTION TO DISMISS
                                                           ISABEL GUZMAN, ADMINISTRATOR                       PLAINTIFF’S COMPLAINT
                                                  15       SMALL BUSINESS ADMINISTRATION,
                                                  16                                                          FIRST REQUEST
                                                                          Defendant.
                                                  17

                                                  18             COMES NOW, Plaintiff, DANIEL LUCERO, an individual, (hereinafter, “Plaintiff”), by
                                                  19   and through his attorney, Rusty Graf, Esq. of the law firm of Black & Wadhams., and Defendant
                                                  20
                                                       ISABEL GUZMAN 1, ADMINISTRATOR SMALL BUSINESS ADMINISTRATION (hereafter
                                                  21
                                                       “Defendant”) by and through her attorney Holly A. Vance, Esq., Assistant United States Attorney
                                                  22
                                                       of the United States Attorney’s Office, and hereby stipulate and agree that Plaintiff’s opposition
                                                  23

                                                  24   to the Motion needs to be extended due to the coronavirus pandemic. Counsel for Plaintiff has

                                                  25   experienced issues related to work stoppage and staff support in allowing the preparing and timely

                                                  26

                                                  27
                                                       1
                                                           The complaint refers to Defendant as “Isabel Guzman” but her name is “Isabella Casillas Guzman.”
                                                  28

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                                                   1   filing of the Opposition. Therefore, due to such hardships and good cause, the requested motion

                                                   2   to extend is appropriate.
                                                   3
                                                              Plaintiff’s opposition to the Motion will be due October 12, 2021. Defendant’s Reply to
                                                   4

                                                   5   Plaintiff’s opposition will be due October 19, 2021.

                                                   6   Dated: September ____, 2021                            Dated: September ____, 2021

                                                   7   BLACK & WADHAMS                                        UNITED STATES ATTTORNEY
                                                   8

                                                   9   By:    /s/ Rusty Graf                                  By:   /s/Holly A. Vance, Esq.
                                                          Rusty Graf, Esq.                                          Holly A. Vance, Esq.
                                                  10      10777 West Twain Avenue, Suite 300                        400 S. Virginia Street
                                                          Las Vegas, NV 89135                                       Reno, NV 89501
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                                                         Attorneys for Plaintiff                                    Attorneys for Defendant
                                                  12

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                                                   1
                                                                                               ORDER
                                                   2
                                                              IT IS HEREBY ORDERED that Plaintiff’s opposition will be due October 12, 2021.
                                                   3

                                                   4          ITS IS FURTHER ORDERED Defendant’s reply to Plaintiff’s Opposition will be due

                                                   5   October 19, 2021.
                                                   6           IT IS SO ORDERED this ____
                                                                                      27th day of _______________
                                                                                                     September,   2021.
                                                   7

                                                   8                                           ___________________________________

                                                   9   Respectfully submitted by:

                                                  10   BLACK & WADHAMS
                                                  11

                                                  12          /s/ Rusty Graf
                                                       RUSTY GRAF, ESQ.
                                                  13   Nevada Bar No. 6322
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                                                       10777 W. Twain Ave., 3rd Fl.
                   Las Vegas, Nevada 89135




                                                  14   Las Vegas, Nevada 89135
                                                       Attorneys for Plaintiff
                                                  15

                                                  16
                                                       Accepted as to form and content:
                                                  17
                                                       UNITED STATES ATTORNEY
                                                  18

                                                  19
                                                              /s/ Holly A. Vance, Esq.
                                                  20   Holly A. Vance, Esq.
                                                       Nevada Bar No. 14853
                                                  21   400 Virginia Street., Suite 900
                                                       Reno, NV 89501
                                                  22   Attorneys for Defendant
                                                  23

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